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                           JN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOUIU
                                     EASTERN DIVISION

  KELLEN POWELL. et al.,                        )
                                                )
                 Plaintiffs,                    )
  vs.                                           )
                                                )
  CITY OF ST. ANN,                              )
                                                )
                 Defendant.                     )

                                          Consent ,Judgment

         COME NOW Plaintiffu, by and through Counsel, and Defendant City of St. Ann,

  Missouri ("City,.), by and through Counsel, and jointly stipulate, as follows:

         1.      During the term of tbis Consent Judgment, the City of St. Ann agrees to abide by

  the following te1ms:

                 a. Except as provided herein, the City of St. Ann and all of ifa o:fficers,
                    employees, and agents will not utilize secured money bail for persons in the
                    custody of the City on arrest, eithe1: without a warrant or on the initial warrant
                    issued, for any violation that may be prosecuted by the City.
                 b. The City of St Ann and all of its officers, employees, and agents will offer
                    every person in the custody of the City on arrest, either without a warrant or
                    on the initial wal'rant issued, for any violation that may be prosecuted by the
                    City> release from 1he custody of the City on recognizance or on an unsecured
                    bond as soon as practicable after booking, subject to the ~plication of Seotion
                    67.315 RSMo regarding custody of intoxicated persons. The only exception
                    to this provision is such persons as are brought befol'e the court within 24
                    hours of arrest for })Qtential imposition of conditions for tel.ease including th.e
                    posting of secured1 money bond for cha1-ges l"esulting .from assaultive conducf
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    As used herein, the tenn "seemed" bond means a monetary sum that must be paid or posted as
  a precondition ofrelease from custody. The term "tecogniza11ce" means a pei:son's release upon
  his 01· her promise to appear in comt at a later date. The term "unsecured" bond does not require
  any up-front payment and is defined as· a monetary sum that a person agrees to pay late1· if the
  pe1·so11 fails to appear as required without good ca.use.
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   Assaultive conduct as lJsed herein, shall mean conduct that falls within tb.e scope of offenses
  charged pursuant to Cbapte1· 215, of the St. Ann Municipal Code ("Offenses Against the
  Person"), as the same may be amended 01· superseded, and/01· Chapter 565 RSMo ("Oftenses
  Against the Person"), as 1he same may be amended or supe1'Seded.
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                    or for a determination that release must be denied to prevent danger to a
                    victim, the community or any other person under applicable constitutional
                    standards, provided that no person will be denied pretrial release because of
                    his or her individual inability to make a monetary payinent. A warrant and
                    conditions for release, including the posting of a secured bond and applicable
                    constitutional standards, shall be completed by the Judge within 24 hours of
                    m:rest. Upon issuance of a warrant the Municipal Judge shall detennine the
                    type of bonds and conditions fol' release once in custody. Upon the request of
                    a persont the Judge shall hold an incligency heaiing, either by person, via
                    vldeo conference 01· telephone, within 24 hours to determine an individuaPs
                    inability to make a monetat'Y payment. Persons who violate conditions of
                    release shall be subject to such actions as determined by the comt pursuant to
                    appJicahle law without regard to any additional procedures set forth he1-ein.
                 c. The City of St. Ann will notify all an-estees in writing upon release from
                    custody of the time, date, and place at whiclt they are required to appear in
                    co\U't, and consistent with Mfosom1 Su_preme Court Rules: (1) information on
                    how to find the standards of indigency as well as the approved fo1m from the
                    Missouri Supreme Comt to assert the same; (2) the schedule of fu1es for the
                    charged violation if it is subject to the Court1s Violations Bureau; (3) .how to
                    obtain onHne access to case info1mation; (4) illfol'mation on how to set up text
                    message or telephone call reminders for court dates; (5) information on how to
                    update address and contam :in:funnation with the com1; and (6) notification
                    that they are required to appear in comt on. the scheduled comt date even if
                    they do not have the funds to pay at the time of the comt date.3
                 d. The City will comply with the following with respect to subsequent
                    proceedings after a citation was issued with. an arrest, 01· the release of a
                    person. arrested after the initial traffic stop.
                         i. For either: (1) a citation issued with no an:est; or (2) an initial at'J.'est
                             without a warrant fo1· an offense that requires finge1p.rinililg, the City
                            ·shall process and release the person on a citation, wl1ich will include
                             providing a.ll of the information set forth in Section 2(c) above, except
                             as othe1wise provided in Section 2(b) above.
                        ii. If a person released on a citation fails to appear in court on the noticed
                             oomt date as p1'0vided in Subsection d(i), a summons to appear in
                             court will be sent via mail to the last known address of the person.
                             The sumtnons will notify the person that if they do not appear at the
                             couit date set forth in. the summons, a warrant may be issued for the
                             person's arrest. The summons wi11 also provide the info1mation set
                             forth in Section 2{c) above.
                       iii. If a person summoned to appear fails to do so, a wai'l'ant may issue for
                             the person's arrest and an unsecul'ed bond shall be set with applicable

   3 fn the event that a pei·son is released from custody with.out chatge> this provision shall not
   apply. However, if charges are subsequently issued then the information set fo1th in this
   Subsection will be provided at the time siich person is pi·ovided with Wl'itten notice of the
   issuance of a charge.

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                               conditions as pexmitted unde1· state law and as set fo1-th in Missom·i
                               Supreme Court Rules. Upon execution of the warrant and the arrest of
                               the person, the person shall be i-eleased on the unsecmed bond without
                               unreasonable dela.y and fa accordance wlth the Missouri Sup1·eme
                               Court Rules related to same. Any person. who has failed to appear in
                               response to a summons and who has a warrant (setting an unsecuxed
                               bond) out for his or her arrest consistent with the provisions of this
                               Subsection, may present themselves to the City's Police Department
                               24 hours a day, at which time they will be promptly pl'ocessed and
                               allowed to leave on an unsecured bond with a court date.4 The City's
                               Municipal Couit will approve dates that can be given by the City>s
                               correctional officers to those that present themselves voluntarily
                               consistent with this Subsection.
                         iv. If aft~1he City has taken the aotions set forth mthis Section 2(d)(i-ili)
                               a person fail8 to appear at a subsequent proceeding on an unsecured
                               bond, the City's Municipal Couit may, in its discretion, issue a warrant
                               and set a secured bo:nd and such warrant may subsequently be
                               executed and the person arrested. Upon an:est, the person may be
                             . detained consistent with the Missoul'l Stipreine Court Rules 37.04 and
                               37.65 as amended or superseded, as well as Sections 479.360 and
                               544.170 RSMo as amended 01· superseded.
                          v. Nothing herein shall prevent a person who would be eligible for
                              release under either a recognizance bond or an unsecured bond from
                              requesting a hearing before the Municipal Judge fo:r consideratlon of
                               alternate conditions for pre"trial release from custody.               .
                 e, Any person who fails to appear in couii afte1· l'elease on a secured, unsecured
                     01· recognizance bond. 01· otherwise violates the conditions of release, shall be
                    mailed a notice of a. motion fo1· l?ond fo1feiture setting forth a date, time and
                    place at which they are requited tP appear in court. The notice shall state that
                    the bond wm be forfeited and a new warrant wiil be issued if the person fails
                    to appear, and provide all the information required p1U'suant to Section 2(c)
                    above.
                 f. At any time after any non--appearance, the City may take approp1'iate and
                    lawful steps under state law to convert any 1msecured bond mto a money
                    judgmentJ to be collected tlu·ough civil means.
                 g. The City of St. Ann will contact any agency that has a warrant out for au
                    arrestee jn its custody within four hom'S of being 1-erufy to release such pm'Son,
                    and shall thereafter release any such arrestee that is being held solely on
                    charges to be prosecuted in municipal court for 1he shorter of: (1) receiving
                    notification from the other ageooy that they will not be collecting the person
                    on their warrant; (2) four hou1·s of being ready to t'Clease the person if the

  4Nothing herein shall prevent a persoll wl10 would be eligible for release on an unsecured bond
  from requesting a hearing be:fure the Municipal Judge to request alteinat-e conditions for release.
  In such event, the Municipal Court will comply with all procedures and time 1·estrictlons
  established by applicable Mlssouti Supreme Cmu:t Rules and State Statutes.

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                     other agency does not respond to attempts to make contact; or (3) 24 hours if .
                     the other agency indicates that they will be collecting the person on. their
                     wan·ant, but subsequently do not come to the City.
                  h. St. Ann police will not impound a cm· owned by a person al'rested on charges
                     of violations of an ordinance so long as the ar1·ootee designates a licensed
                     drivei· who will immedfotely take possessiOll. of the car and remove it from the
                     scene of m:rest, unless such car is to be held for investigation 01· evidence.

           2.     Anytime after two years from t1w date hereof either party may petition the Court
   seeking to dissolve this Consent Judgment, which shall be dissolved unless the non-moving pat'ty
   objects on the basis that there has been a material violation of the terms of this Consent
   Judgment. 'This Court will extend the term of this Consent Judgment fo1· a further year, in the
   event that the non-moving party establishes there has been a material violation of the terms of
   this Consent Judgment by tli.e moving party.

           3.      In the event that the term of this Consruit Judgment is extended for an additional
   yea1· pursuant to Section 3 above, then anytime after the additional year ends, either patty may
   again petition the Court to seek to dissolve this Consent Judgment} which shall be dissolved
   unless the nonMmoving party objects on the basis that there has been a mate1·ial violation of the
   terms of tbis Consent Judgment during the extended period. In the event of subsequent material
   violations of tb.ts Consent Judgment, the patties will follow the procedures set forth herein and
   the Consen~ Judgment shall be extended for additional one year terms, as applicable.

           4.       Following the dissolution of this Consent Judgment, St. Ann agrees to continue:
   (1) to ensure that indigent persons arrested are afforded. the necessary protections under the law;
   and (2) to comply with applicable state and federal laws peitaining to the setting of conditions
   upon pre--trial release from c\.1stody.    ·


   SO ORDERED:




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                                        Respectfully submitted.

                                        CURTIS; HEINZ, GARRETT & O,KEEFE, P.c.
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                            CERTIFICATE OF SERVICE

        A copy of the above and foregoing was served upon the following via the Court's
.electronic notification system this 2ND day of May, 2018 to all parties of record.




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